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                    EXHIBIT 20
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                                               STATE OF NEW YORK
                                        OFFICE OF THE ATTORNEY GENERAL

   LETITIA J AMES                                                                    DIVISION OF SOCIAL J USTICE
   ATTORNEY GENERAL                                                                               LABOR BUREAU


                                                                        January 4, 2023

   Via Electronic Mail (LesserA@adr.org)
   Ann Lesser
   Vice President – Labor, Employment, and Elections
   American Arbitration Association
   120 Broadway, Floor 21
   New York, NY 10271

   Re:     Unlawful Liquidated Damages Provisions in Employment Contracts and
           Advanced Care Staffing, LLC v. Benzor Vidal (Case No. 01-22-0002-9008)

   Dear Ms. Lesser:

           We write to express our grave concerns about companies using arbitration proceedings to
   attempt to enforce illegal liquidated damages provisions against foreign nurses. Hospitals and
   staffing agencies have long engaged in a practice of recruiting nurses from other nations to work
   in New York, requiring them to sign employment contracts that oblige them to pay unlawful fees
   (up to $25,000) should they resign or be fired within their first three years of employment. These
   fees are an unenforceable penalty and the provisions threatening enforcement of such fees compel
   forced labor, in violation of the Trafficking Victims Protection Act (“TVPA”).1 Through recent
   public lawsuits, we understand that employers are pursuing damages against workers under these
   unlawful liquidated damages provisions through mandatory arbitration proceedings before the
   American Arbitration Association (“AAA”).

           The New York State Office of the Attorney General (the “OAG”) is deeply committed to
   enforcing federal, state, and local laws to protect vulnerable workers’ rights and ensure a
   workplace free of exploitation. The OAG has and will continue to investigate these types of claims.
   See In re: Albany Med Health System f/k/a Albany Medical Center, AOD No. 21-040 (June 11,
   2021); AOD No. 22-058 (September 13, 2022) (settling OAG investigations of employer for
   unlawfully including and enforcing a $20,000 repayment fee in employment contracts from nurses
   recruited from foreign nations). 2


   1
    See Paguirigan v. Prompt Nursing Emp’t Agency LLC, No. 17-cv-1302 (NG) (JO), 2019 U.S. Dist. LEXIS 165587,
   at *23, 54 (E.D.N.Y. Sep. 23, 2019).
   2
    See press releases here: https://ag.ny.gov/press-release/2021/attorney-general-james-recovers-over-90000-
   restitution-albany-nurses-subjected (AOD No. 21-040 embedded); https://ag.ny.gov/press-release/2022/attorney-
   general-james-returns-24000-nurses-taken-advantage-albany-hospital (AOD No. 22-058 embedded).

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           We have analyzed the contract provisions at issue in the matter of Vidal v. Advanced Care
   Staffing, LLC, 22-cv-5535 (E.D.N.Y. Sept. 16, 2022) (related to pending AAA Case No. 01-22-
   0002-9008, Advanced Care Staffing, LLC v. Benzor Vidal) where Advanced Care Staffing
   (“ACS”) demanded a substantial penalty fee from Vidal, a nurse recruited from a foreign nation,
   because he failed to complete his three-year employment term. After an initial analysis of ACS
   contract provisions,3 they appear invalid and unlawful under the TVPA.

           The ACS employment contracts and circumstances under which nurses have signed them,
   are strikingly similar to the federal matter analyzed against Prompt Nursing Emp’t Agency LLC
   d/b/a Sentosa Services a/k/a/ Sentosacare (“Sentosa”). Paguirigan, No. 17-cv-1302 (NG) (JO),
   2019 U.S. Dist. LEXIS 165587. In Sentosa, nurses recruited from the Philippines were given
   contracts with a provision requiring them to pay up to $25,000 in liquidated damages if they failed
   to complete the full three-year employment term. Id. at *9.4 The $25,000 penalty demanded in
   liquidated damages was disproportionate to the actual costs Sentosa incurred in recruiting the
   nurses,5 which were ascertainable at the time of hire. Id. at *34. This provision constituted a threat
   of serious financial harm “to compel a reasonable person of the same background and in the same
   circumstances to perform or to continue performing labor or services in order to avoid incurring
   that harm.” Id. at *53 (quoting TVPA § 1589(c)(2)). In reaching this conclusion the court noted
   consideration of the “particular vulnerabilities of plaintiff and other class members—all of them
   recent immigrants to the United States—and have also focused on whether it would be objectively
   reasonable for them to continue working under the circumstances.” Id. at *54.

           Similar to Sentosa, ACS’s early termination provisions threaten both legal and financial
   harm in violation of the TVPA § 1589. The indefinite sums demanded by ACS are disproportionate
   to the ascertainable costs ACS may have incurred in recruiting Vidal, making it an unenforceable
   penalty.6


   3
     The first contract Vidal signed in 2019 sought to compel performance of a three-year work term by including a
   $20,000 promissory note, demanding this amount plus all costs incurred by ACS to enforce this note if Vidal was
   terminated or resigned within the first three years of work. The second contract Vidal signed in 2022 removed the
   promissory note requirement, to avoid any interpretation it could be used as an early “buy out,” but still demanded
   reimbursement of all costs and expenses to compel work performance for three years and prevent an early termination.
   The costs and expenses, as vaguely stated in the second contract, are indefinite, and the financial harm threatened by
   ACS has the potential to exceed $20,000. In response to Vidal informing ACS of his desire to resign prior to his three-
   year work term, ACS communicated to him that they would seek significant damages in arbitration, explaining that
   their purported damages were at least $20,000, the cost of trying to find a new nurse would be $9,000 for each year
   remaining in his contract, and that Vidal would also be responsible for all attorney’s fees and costs incurred in
   arbitration.
   4
     The court noted that although the contract was negotiated at arms length, the parties were of “unequal bargaining
   power” and the contract was “not achieved through arms length negotiation”; the plaintiff was not represented by
   counsel when she executed the contract and there was no evidence she had familiarity with American contract law.
   Id. at *25. (internal citations omitted).
   5
    When reviewing actual costs, the court looked at lawyer’s fees, filing fees, visa fees, ICHP visa screening fees,
   airfare, and other miscellaneous expenses such as housing. Id. at *26.
   6
     See Paguirigan, at *26 (the liquidated damages provision was an unenforceable penalty where it did not bear “a
   reasonable proportion to the probable loss”).

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           Accordingly, we request that AAA exercise caution in reviewing the pending arbitration
   matter, ACS v. Vidal (AAA Case No. 01-22-0002-9008). AAA should consider staying the
   arbitration because it is an undue burden on the worker to defend this matter, especially while the
   legality of the contract provision at issue is pending review before the U.S. District Court. We also
   request that AAA perform a review of open matters enforcing similar liquidated damages
   provisions and consider staying those cases as well.

           The OAG also urges the AAA to exercise its authority to decline to administer future
   proceedings brought under like circumstances, concerning unlawful contract provisions that
   violate the TVPA and seek unenforceable penalties. See AAA Employment Arbitration Rules and
   Procedures, pp. 7-8 (“If the [AAA] determines that a dispute resolution program on its face
   substantially and materially deviates from the minimum due process standards of the Employment
   Arbitration Rules and Mediation Procedures and the Due Process Protocol, the [AAA] may decline
   to administer cases under that program”). 7

           We request that the AAA consider the serious implications of proceeding with these
   arbitrations and not allow its arbitration program to be used as a tool by employers to further labor
   trafficking violations.

                                                                          Sincerely,

                                                                          /s/ Roya Aghanori
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                                                                          Assistant Attorney General
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   7
       https://www.adr.org/sites/default/files/Employment-Rules-Web.pdf

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